     Case 3:18-cv-06582-WHA Document 55 Filed 11/29/18 Page 1 of 2


 1   DARIN W. SNYDER (S.B. #136003)
     dsnyder@omm.com
 2   MICHAEL F. TUBACH (S.B. #145955)
     mtubach@omm.com
 3   DAVID EBERHART (S.B. #195474)
     deberhart@omm.com
 4   O’MELVENY & MYERS LLP
     Two Embarcadero Center, 28th Floor
 5   San Francisco, CA 94111
     Telephone:    415 984 8700
 6   Facsimile:    415 984 8701

 7   Attorneys for Defendant
     JHL BIOTECH, INC.
 8

 9
                                  UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                     SAN FRANCISCO DIVISION
12
     GENENTECH, INC.,                              Case No. 3:18-cv-06582-WHA
13
                    Plaintiff,                     DEFENDANT JHL BIOTECH, INC.’S
14                                                 CORPORATE DISCLOSURE
            v.                                     STATEMENT AND CERTIFICATION OF
15                                                 INTERESTED ENTITIES OR PERSONS
     JHL BIOTECH, INC., XANTHE LAM, an
16   individual, ALLEN LAM, an individual,         Dept.: Courtroom 12 - 19th Floor
     JAMES QUACH, an individual, RACHO             Judge: Hon. William Alsup
17   JORDANOV, an individual, ROSE LIN, an
     individual, JOHN CHAN, an individual,         Date Filed: October 29, 2018
18   and DOES 1-50,                                Trial Date: Not Set

19                  Defendants.

20

21

22

23

24

25

26

27

28

                 DEFENDANT JHL BIOTECH, INC.’S CORPORATE DISCLOSURE STATEMENT AND
                         CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
                                      Case No. 3:18-cv-06582-WHA
      Case 3:18-cv-06582-WHA Document 55 Filed 11/29/18 Page 2 of 2


 1          Pursuant to Federal Rule of Civil Procedure 7.1 and Civil Local Rule 3-15, Defendant

 2   JHL Biotech, Inc. (“JHL”) certifies that the following listed persons, associations of persons,

 3   firms, partnerships, corporations (including parent corporations) or other entities (i) have a

 4   financial interest in the subject matter in controversy or in a party to the proceeding, or (ii) have a

 5   nonfinancial interest in that subject matter or in a party that could be substantially affected by the

 6   outcome of this proceeding:

 7              •   KPCB Asia Investment, Ltd. (owner of more than 10% of JHL stock);

 8              •   Sanofi – Aventis Singapore Pte Ltd. (owner of more than 10% of JHL stock);

 9              •   Biomark Capital Fund IV L.P. (owner of more than 10% of JHL stock); and

10              •   Sequoia Capital CV IV Holdco, Ltd (owner of more than 10% of JHL stock).

11          This Corporate Disclosure Statement and Certification of Interested Entities or Persons is

12   not a waiver of any claims or defenses JHL may have, and all such claims and defenses are

13   expressly reserved by JHL.

14    Dated: November 29, 2018                                O’MELVENY & MYERS LLP
15

16                                                      By:   /s/ David R. Eberhart
                                                              David R. Eberhart
17
                                                              Attorneys for Defendant
18                                                            JHL BIOTECH, INC.

19

20

21

22

23

24

25

26

27

28
                                                         1
                 DEFENDANT JHL BIOTECH, INC.’S CORPORATE DISCLOSURE STATEMENT AND
                         CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
                                      Case No. 3:18-cv-06582-WHA
